Case 2:20-cr-00042-LGW-BWC Document 331 Filed 10/08/21 Page 1 of 7

GAS 245B (Rev. 06/21) Judgment in a Criminal Case
DC Custody TSR

 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

 

 

Ronald E. Harrison, II
THE DEFENDANT: Defendant’s Attorney

(X] pleaded guilty to Counts 1s and 4s

UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
Bradley Scott )
ee ) Case Number: 2:20CR00042-4
USM Number: 21552-509
)
)

CL] pleaded nolo contendere to Count(s) which was accepted by the court.

{] was found guilty on Count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 846, Conspiracy to possess with intent to distribute, and to distribute, 50 January 13, 2021 Is
21 U.S.C. § 841(a)(1), grams or more of a mixture or substance containing a detectable

21 U.S.C. § 841(b)(1)(B), amount of methamphetamine and a quantity of heroin
and 18 U.S.C. § 2

18 U.S.C. § 922(g)(1) and _—- Possession of a firearm by a prohibited person February 15, 2020 4s
18 U.S.C. § 924(a)(2)

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

LJ The defendant has been found not guilty on Count(s)

Count 5 of the Superseding Indictment and the underlying Indictment are dismissed as to this defendant on the motion of the United

States.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

 

LISA GODBEY WOOD
UNITED STATES DISTRICT JUDGE

Name and Title of Judge

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DC Custody TSR

DEFENDANT: Bradley Scott

CASE NUMBER: 2:20CR00042-4

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 141 months. This term is comprised of 141 months as to Count_] and 120 months as to Count 4, to be served
concurrently. This term of imprisonment shall be served consecutively to the probation revocation sentences he is serving in

Wayne County Superior Court, Docket Numbers 12CR033B and 17CR262. but concurrently with any term of imprisonment
imposed on the pending related state charges in Long and Liberty Counties, Georgia. :

x

The Court makes the following

recommendations to the Bureau of Prisons:

It is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his participation in an appropriate
program of substance abuse treatment and counseling, including the Residential Drug Abuse Program (RDAP), during his term
of incarceration. To the extent that space and security can accommodate this request, the Court recommends that the defendant
be designated to the facility in Jesup, Georgia, so that he may be close to his family. The Court recommends the defendant be

given access to job training programs.

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

O

at

 

[] as notified by the United States Marshal.

O O p.m.

a.m.

Os‘ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

a)

before2p.m.on

© - asnotified by the United States Marshal.

0

I have executed this judgment as follows:

Defendant delivered on

as notified by the Probation or Pretrial Services Office.

RETURN

to

, with a certified copy of this judgment.

By

 

 

"UNITED STATES MARSHAL

 

DEPUTY UNITED STATES MARSHAL
GAS 245B BARB) RdarenGAeirnlaewy-BVWC Document 331 Filed 10/08/21 Page 3 Ottudement — Page 3 of 7
DC Custody TSR

 

DEFENDANT: Bradley Scott
CASE NUMBER: 2:20CR00042-4

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 4 years as to Count 1 and 3 years as to Count 4, to be
served concurrently.

MANDATORY CONDITIONS
1. You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.

3, You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

LC) The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
substance abuse. (Check, if applicable.)

4 [] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
, restitution. (Check, if applicable.) —

&) You must cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

CJ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)

7. CJ You must participate in an approved program for domestic violence. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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DC Custody TSR

DEFENDANT: Bradley Scott
CASE NUMBER: 2:20CR00042-4

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
permission of the probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting permission from the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified that person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature Date
 

GAS 245B RADON) RAnhem WACAmGW/-BVWC Document 331 Filed 10/08/21 Page 5 Ofudgment — Page 5 of 7
DC Custody TSR
DEFENDANT: Bradley Scott
CASE NUMBER: 2:20CR00042-4
SPECIAL CONDITIONS OF SUPERVISION
1. You must participate in a substance abuse treatment program and follow the rules and regulations of the program. The
probation officer will supervise your participation in the program.
2. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not
attempt to obstruct or tamper with the testing methods.
3. You must not communicate, or otherwise interact, with any known member of a gang, without first obtaining the
permission of the probation officer.
4. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §

1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United
States probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any

- other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may
conduct a search under this condition only when reasonable suspicion exists that you have violated a condition of
supervision and that the areas to be searched contain evidence of this violation. Any search must be conducted at a
reasonable time and in a reasonable manner.
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DC Custody TSR

 

DEFENDANT: Bradley Scott
CASE NUMBER: 2:20CR00042-4

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

Assessments Restitution Fine AVAA Assessment* JVTA Assessment **
TOTALS $200 Not Applicable None Not Applicable Not Applicable
(J The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.
C1) = The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ $

L] Restitution amount ordered pursuant to plea agreement $ _

[1] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0 _ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[1 the interest requirement is waived forthe [fine 1 restitution.

(J the interest requirement for the O fine (1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
GAS 245B RADA) RAnKEn BASHRinbIGY-BWC Document 331 Filed 10/08/21 Page 7 Ofuégment— Page 7 of 7
DC Custody TSR

 

DEFENDANT: Bradley Scott
CASE NUMBER: 2:20CR00042-4
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A Lump sum paymentof$ —-—-s- 200. ~——s due immediately.
(J not later than ,or

[} imaccordance [J 4c C oO D OD Oo E, or (J F below; or

[] Payment to begin immediately (may be combined with OC, C1 D, or CZ) F below); or
C OF Paymentinequal =  _ (e.g., weekly, monthly, quarterly) installments of $ __ over a period of
_ (e.g., months or years), to commence (e.g. 30 or 60 days) after the date of this judgment; or .
D [) Paymentinequal (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
, (2.2., months or years), to commence ___ (ag., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E () Payment during the term of supervised release will commence within . (eg., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F ( Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0 Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(J The defendant shall pay the cost of prosecution.
[1 The defendant shall pay the following court cost(s):

| The defendant shall forfeit the defendant’s interest in the following property to the United States:
Pursuant to the plea agreement, the defendant agreed to forfeit his interest in a Lorcin, Model L380, .380 semi-automatic pistol.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) [VTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
